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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF NEBRASKA

UNITED STATE OF AMERICA,             )
                                     )
               Plaintiff,            )
                                     )
       -v-                           )       Case No. 4:06CR3062
                                     )
ALEXANDER PRIETO,                    )
                                     )
               Defendant.            )


       IT IS ORDERED:

       1.      Defendant’s unopposed motion for extension of time (Filing 64) to enter plea is
granted in part and the change of plea hearing is reset for August 18, 2006 at 3:00 p.m.

        2.     For this defendant, the time between today’s date and the hearing on the
anticipated plea of guilty is excluded for purposes of computing the limits under the Speedy Trial
Act. See 18 U.S.C. §3161(h)(1)(I)&(h)(A)(B).

       3.      Defendant shall be present for the hearing.

       Dated this 1st day of August, 2006.

                                             BY THE COURT


                                             s/David L. Piester
                                             David L. Piester
                                             United States Magistrate Judge
